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       In the United States Court of Federal Claims
                                        No. 16-840C
                                   (Filed: April 29, 2019)


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                                    *
BITMANAGEMENT SOFTWARE              *
GMBH,                               *
                                    *
                  Plaintiff,        *
                                    *
            v.                      *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
                                    *
*************************************

                                          ORDER

        Pursuant to the agreement by the parties and accepted by the Court, the post-trial
briefing is as follows:

               May 31, 2019 – Plaintiff’s brief due, not to exceed 45 pages;
               June 28, 2019 – Defendant’s brief due, not to exceed 45 pages;
               July 12, 2019 – Plaintiff’s reply brief due., not to exceed 15 pages.

       Each party shall also set forth its position with regard to the extraterritorial
copyright claims in its post-trial brief.

        The parties shall also file the list of exhibits entered into evidence together with
the final entered exhibits on CD-Rom no later than May 31, 2019.

       IT IS SO ORDERED.

                                                               s/ Edward J. Damich
                                                               EDWARD J. DAMICH
                                                               Senior Judge
